      Case 1:19-cr-02032-SMJ    ECF No. 562    filed 01/26/22   PageID.8240 Page 1 of 8




1                                                                            FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON

2
                                                                    Jan 26, 2022
3                        UNITED STATES DISTRICT COURT                   SEAN F. MCAVOY, CLERK

                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 1:19-cr-02032-SMJ-1
5                                                   1:19-cr-02032-SMJ-2
                               Plaintiff,
6
                  v.                            ORDER GRANTING
7                                               DEFENDANTS’ MOTION FOR
     JAMES DEAN CLOUD (01), and                 ACCESS TO PETIT JURY
8    DONOVAN QUINN CARTER                       SELECTION RECORDS
     CLOUD (02),
9
                               Defendants.
10
           Before the Court, without oral argument, is Defendant James Cloud’s (01)
11
     Unopposed Motion for Access to Petit Jury Selection Records and Materials, ECF
12
     No. 502. Defendant Donovan Cloud (02) moved to join in the motion, and the Court
13
     granted his request. ECF Nos. 542; 555. Defendants seek access to certain
14
     information concerning the selection of the petit jury for Defendants’ upcoming
15
     trials. The Government does not oppose the motion. Having reviewed the motion,
16
     the Court is satisfied that the requested records and materials are within the scope
17
     of Defendant’s right of access under 18 U.S.C. § 1867(f) and therefore grants the
18
     motion, subject to the limits described below.
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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 1
     Case 1:19-cr-02032-SMJ   ECF No. 562   filed 01/26/22   PageID.8241 Page 2 of 8




1        Accordingly, IT IS HEREBY ORDERED:

2        1.    Defendant James Cloud’s (01) Unopposed Motion for Access to Petit

3              Jury Selection Records and Materials, ECF No. 502, is GRANTED.

4        2.    All information and material, whether redacted or otherwise, produced

5              pursuant to this Order (“Petit Jury Material”) shall be subject to the

6              following restrictions:

7              A.    Defense counsel may disclose and review the contents of the

8                    Petit Jury Material with Defendants but shall not provide it to

9                    them. Defendants shall not keep any Petit Jury Material in their

10                   possession.

11             B.    Defense counsel may copy or otherwise reproduce Petit Jury

12                   Material, and disseminate the same, only where necessary to

13                   evaluate, prepare, or present an appropriate motion, including to

14                   defense counsel and any retained expert or investigator. Petit

15                   Jury Material shall not be disseminated for any other purpose or

16                   to any individual or entity not involved in this case.

17             C.    All Petit Jury Material shall be destroyed upon completion of

18                   this case and any related appeals. Defense counsel shall file a

19                   notice with the Court confirming such destruction once

20                   complete.


     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 2
     Case 1:19-cr-02032-SMJ   ECF No. 562   filed 01/26/22   PageID.8242 Page 3 of 8




1        3.    The Clerk’s Office is DIRECTED to furnish the following records

2              and information to James Cloud’s defense counsel one week after

3              James Cloud’s trial concludes and to Donovan Cloud’s defense

4              counsel one week after Donovan Cloud’s trial concludes. The

5              Clerk’s Office shall not furnish any of the following records or

6              information before these dates.

7              A.    The United States District Court for the Eastern District of

8                    Washington’s jury selection plan in effect at the time the Clerk’s

9                    Office summoned the petit jury in this matter;

10             B.    Any policies and procedures enacted for summonsing and

11                   enlisting grand jurors due to the COVID-19 pandemic;

12             C.    Any Court Orders entered for summonsing and enlisting petit

13                   jurors due to the COVID-19 pandemic;

14             D.    Any AO-12 or JS-12 form created that relates to the District and

15                   Divisional Master Jury Wheels and Qualified Jury Wheels used

16                   to summons the petit jurors in this matter;

17             E.    Any statistical or demographic analyses produced to ensure the

18                   Master Jury Wheels and Qualified Jury Wheels used to

19                   summons petit jurors in this case comply with the jury plan;

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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 3
     Case 1:19-cr-02032-SMJ   ECF No. 562   filed 01/26/22   PageID.8243 Page 4 of 8




1              F.    The date on which the District’s Master Jury Wheel was most

2                    recently refilled;

3              G.    The general notice explaining the process by which names are

4                    periodically and randomly drawn;

5              H.    The procedures employed to “purge” duplicate records, as well

6                    as any report or analysis of those procedures;

7              I.    The calculations used to proportionately reflect the number of

8                    names from each county;

9              J.    The procedures implemented to address prospective petit jurors

10                   who do not respond to a juror qualification form, or have their

11                   juror qualification form returned by the postal service as

12                   undeliverable;

13             K.    Any report or analysis on the supplemental draw;

14             L.    Any report or analysis concerning the failure of prospective petit

15                   jurors to submit a response to the juror qualification

16                   questionnaire;

17             M.    The date on which the petit jurors in this matter were

18                   summoned;

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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 4
     Case 1:19-cr-02032-SMJ   ECF No. 562    filed 01/26/22   PageID.8244 Page 5 of 8




1              N.    Information on whether the prospective petit jury is

2                    “divisional,” “combined,” or “entire district” as those terms are

3                    defined in Section 4.05(b) of the Jury Selection Plan;

4              O.    If the petit jury in this case was drawn from the entire district or

5                    a combination of several divisions, the calculation of the ratio

6                    and number of petit jurors from each division;

7              P.    The number of prospective petit jurors summoned from the

8                    Qualified Jury Wheel in this case;

9              Q.    Data, in electronic format, on the District and Divisional Master

10                   Wheel, limited to the individual’s juror number, race, gender,

11                   Hispanic ethnicity, birth year, zip code, city, county, and jury

12                   division;

13             R.    Information regarding whether the voter list received by the

14                   Clerk’s Office from its third-party vendor contains all registered

15                   voters, or only inactive voters;

16             S.    Data, in electronic format, on the District and Divisional

17                   Qualified Jury Wheel, limited to the individual’s juror number,

18                   race, gender, Hispanic ethnicity, birth year, zip code, city,

19                   county, and jury division;

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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 5
     Case 1:19-cr-02032-SMJ   ECF No. 562   filed 01/26/22   PageID.8245 Page 6 of 8




1              T.    Data, in electronic format, on prospective petit jurors whose

2                    juror questionnaire forms were returned undeliverable, not

3                    returned, or were otherwise disqualified or exempted from

4                    service under the Jury Selection Plan, limited to the individual’s

5                    juror number, whether the form was returned undeliverable,

6                    whether the form was not returned, reason for disqualification,

7                    race, gender, Hispanic ethnicity, birth year, zip code, city,

8                    county, and jury division;

9              U.    The juror numbers of persons whose qualification notice/form

10                   was replaced as part of the supplemental draw;

11             V.    The juror numbers of persons who were selected to replace an

12                   undeliverable or unanswered qualification notice/form as part of

13                   the supplemental draw;

14             W.    The juror numbers of persons summonsed to appear for either

15                   failure to appear or failure to submit a juror qualification

16                   questionnaire;

17             X.    The juror numbers for persons selected as potential petit jurors

18                   in this case;

19             Y.    The data sources, in electronic format, for the Master Jury

20                   Wheel used to summons petit jurors in this case, namely voter


     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 6
      Case 1:19-cr-02032-SMJ   ECF No. 562   filed 01/26/22   PageID.8246 Page 7 of 8




1                     registration lists as well as driver’s license and identification

2                     lists. Such data is limited to race, gender, Hispanic ethnicity,

3                     birth year, zip code, city, county, and jury division and shall be

4                     redacted to eliminate all personally identifying information;

5               Z.    Juror qualification and summons forms for persons summonsed

6                     to potentially become petit jurors in this case, redacted to

7                     eliminate all personally identifying information; and

8               AA. Information concerning the disposition of each prospective petit

9                     juror summonsed in this case, namely whether each was

10                    excused, deferred, disqualified, or impaneled.

11        4.    If any of the above-described information and records are unavailable

12              to the Clerk’s Office, but later become available, the Clerk’s Office

13              shall furnish them immediately upon receipt, except the Clerk’s Office

14              shall not furnish any information or records until one week after each

15              Defendants’ individual trial concludes.

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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 7
      Case 1:19-cr-02032-SMJ     ECF No. 562   filed 01/26/22   PageID.8247 Page 8 of 8




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3          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

4    provide copies to all counsel.

5          DATED this 26th day of January 2022.

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7                       SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER GRANTING DEFENDANTS’ MOTION FOR ACCESS TO PETIT
     JURY SELECTION RECORDS – 8
